Case 20-10125-jal        Doc 12     Filed 03/18/20        Entered 03/19/20 01:07:12             Page 1 of 2

                  UNITED STATES BANKRUPTCY COURT
                                  Western District of Kentucky
        IN RE:                                                          Case No.:20−10125−jal
        Kevin T. Gabehart

                                   Debtor(s)                            Chapter: 13




       NOTICE OF CONTINUED MEETING OF CREDITORS
        YOU ARE HEREBY NOTIFIED that the meeting of creditors in the above referenced
        case has been rescheduled. The debtor (both spouses in a joint case) must be present at
        the meeting to be questioned under oath by the trustee and by creditors. Creditors are
        encouraged but are not required to attend.
        Hearing Room 1, 4th Floor, 1001 Center Street, Bowling Green, KY 42101
        on 4/16/20 at 11:30 AM
        This case may be dismissed without further notice for failure to attend this meeting.
        A copy of this notice shall be mailed to the debtor(s), counsel for the debtor(s), the U.S.
        Trustee and to all scheduled creditors and parties in interest.


        Dated: 3/14/20
                                                     ENTERED BY ORDER OF THE COURT
        By: mes                                      United States Bankruptcy Court
        Deputy Clerk                                 Elizabeth H. Parks, Clerk
         Case 20-10125-jal            Doc 12        Filed 03/18/20         Entered 03/19/20 01:07:12                 Page 2 of 2
                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 20-10125-jal
Kevin T. Gabehart                                                                                          Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: msmithson                    Page 1 of 1                          Date Rcvd: Mar 16, 2020
                                      Form ID: 208                       Total Noticed: 17


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 18, 2020.
db             +Kevin T. Gabehart,    2835 Spurlington Rd.,    Campbellsville, KY 42718-9275
6667302        +First & Farmers National Bank, Inc.,    c/o Harlan Judd, Esq.,
                 Judd, Satterfield & Associates, PLLC,    869 Broadway Ave.,   Bowling Green, KY 42101-2571
6651079        +First And Farmers Bank,    200 S Washington,   Albany, KY 42602-1226
6653763        +Heights Finance,    1560 Hustonville Rd Ste 233,   Danville, KY 40422-2460
6651081        +Jpmcb Card,   Po Box 30281,    Salt Lake City, UT 84130-0281
6651083        +Taylor County Bank,    201 Lebanon Ave,   Campbellsville, KY 42718-1868
6651084        +United Citizens Bank O,    700 Jamestown Street,   Columbia, KY 42728-1116

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
6671570         E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Mar 16 2020 21:35:09
                 Capital One Bank (USA), N.A.,   by American InfoSource as agent,   PO Box 71083,
                 Charlotte, NC 28272-1083
6651075        +E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Mar 16 2020 21:35:09
                 Capital One Bank Usa N,   Po Box 30281,   Salt Lake City, UT 84130-0281
6651076        +E-mail/Text: bankruptcy@ctbi.com Mar 16 2020 21:20:47     Community Trust Bank I,    Po Box 2947,
                 Pikeville, KY 41502-2947
6651077        +E-mail/Text: bankruptcy_notifications@ccsusa.com Mar 16 2020 21:24:16      Credit Coll,
                 Po Box 607,   Norwood, MA 02062-0607
6651078        +E-mail/PDF: creditonebknotifications@resurgent.com Mar 16 2020 21:32:28      Credit One Bank Na,
                 Po Box 98872,   Las Vegas, NV 89193-8872
6651080        +E-mail/Text: hfcbkfiling@heightsfinance.com Mar 16 2020 21:24:27      Heights Finance - 3287,
                 7707 Knoxville Ave,   Peoria, IL 61614-2014
6660234        +E-mail/PDF: cbp@onemainfinancial.com Mar 16 2020 21:33:01     OneMain,    PO Box 3251,
                 Evansville, IN 47731-3251
6651082        +E-mail/PDF: cbp@onemainfinancial.com Mar 16 2020 21:33:01     Onemain,    Po Box 1010,
                 Evansville, IN 47706-1010
6651085        +E-mail/PDF: bk@worldacceptance.com Mar 16 2020 21:34:01     World Finanace Corpora,
                 108 Frederick St,   Greenville, SC 29607-2532
6671770        +E-mail/PDF: bk@worldacceptance.com Mar 16 2020 21:34:01
                 World Finance Corp. c/o World Acceptance Corp.,   Attn: Bankruptcy Processing Center,
                 PO Box 6429,   Greenville, SC 29606-6429
                                                                                             TOTAL: 10

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 18, 2020                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 14, 2020 at the address(es) listed below:
              Charles R. Merrill    ustpregion08.lo.ecf@usdoj.gov
              Tim Berry Falls    on behalf of Debtor Kevin T. Gabehart timberryf@yahoo.com, timberryf@icloud.com
              William W. Lawrence -13    ECF@louchapter13.com, ecf.bk.westky@gmail.com
                                                                                            TOTAL: 3
